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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

CIVIL ACTION NO. 11-613-C

VERNA HASKINS,                                                          PLAINTIFFS,

V.                                     ORDER

ZWICKER & ASSOCIATES, P.C.,                                           DEFENDANTS.


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      The court, having been advised by the parties that settlement has been

reached on all matters in this case, ORDERS that this action is DISMISSED

WITHOUT PREJUDICE and STRICKEN from the active docket. All deadlines and

hearings are canceled.

      The parties shall TENDER an agreed order dismissing this case with prejudice

within 45 days of entry of this Order. The court will entertain a motion to re-

docket this action within 45 days from entry of this Order if the settlement is not

consummated.

Signed on September 5, 2012
